Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9148 Page 1 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9149 Page 2 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9150 Page 3 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9151 Page 4 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9152 Page 5 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9153 Page 6 of 7
Case 2:12-cv-00591-BSJ Document 408-2 Filed 08/13/13 PageID.9154 Page 7 of 7
